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         Order Regarding Motion for Sentence Reduction Under 18 U.S.C. § 3582(c)(2)



                                    UNITED STATES DISTRICT COURT
                                                       Eastern District of Arkansas

                   UNITED STATES OF AMERICA
                              V.
                                                                                      Case
                                                                                                    4:07CR00086-01-JM
                        Victor Lamont Cummings                                        Number:
                                                                                      USM           24593-009

Date of Original Judgment:                          April 23, 2008

Date of Previous Amended Judgment: May 6, 2009                                        N/A
(Use Date of Last Amended Judgment if Any)                                            Defendant’s Attorney



        ORDER REGARDING MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. § 3582(C)(2)

      Upon motion of        G the defendant     G the Director of the Bureau of Prisons      X the court
      under 18 U.S.C. § 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline
      sentencing range that has subsequently been lowered and made retroactive by the United States Sentencing
      Commission pursuant to 28 U.S.C. § 994(u), and having considered such motion, and taking into account
      the policy statement set forth at USSG § 1B1.10 and the sentencing factors set forth in 18 U.S.C. § 3553(a),
      to the extent that they are applicable,

      IT IS ORDERED that the motion is:
             G DENIED.
             X GRANTED and the defendant’s previously imposed sentence of imprisonment of
                   126 months is reduced to 101 months.




Except as provided above, all provisions of the judgment dated April 23, 2008 will remain in effect.

IT IS SO ORDERED.

Order Date: November 4, 2014                                                     _______________________________
                                                                                 United States District Judge

Effective Date: November 1, 2015
                (If different from order date)


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